              Case 2:14-cv-01178-MJP Document 867 Filed 11/02/21 Page 1 of 3




 1                                                             THE HON. MARSHA J. PECHMAN

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON

 8   A.B., by and through her next friend CASSIE           No. 14-cv-01178-MJP
     CORDELL TRUEBLOOD, et al.,
 9
                          Plaintiffs,
10
     v.                                                   ORDER GRANTING STIPULATED
11                                                        MOTION TO DISTRIBUTE
     WASHINGTON STATE DEPARTMENT OF                       CONTEMPT FUNDS
12   SOCIAL AND HEALTH SERVICES, et al.,

13                        Defendants.

14          This matter comes before the Court upon the Parties’ Stipulated Motion to Distribute

15   Contempt Funds to pay Seattle Foundation’s January 2021 through June 2021 Administrative

16   Fee for Trueblood Diversion Fund Management.

17          IT IS HEREBY ORDERED that the Clerk of this Court shall disburse $100,000.00 to the

18   Seattle Foundation for payment of their October 13, 2021 invoice number 15602.

19          IT IS FURTHER ORDERED that the Clerk of this Court is authorized and directed to

20   draw a check on the funds deposited in the registry of the Court in the principal amount of

21   $100,000.00 minus any statutory users fees, payable to the Seattle Foundation, by check which

22   will be mailed or delivered to same at 1601 5th Avenue, Suite 1900, Seattle, WA 98101.

23   //
     //
     [PROPOSED] ORDER GRANTING STIPULATED                                     Disability Rights Washington
     MOTION TO DISTRIBUTE CONTEMPT FUNDS - 1                              315 5 th Avenue South, Suite 850
                                                                              Seattle, Washington 98104
                                                                     (206) 324-1521  Fax: (206) 957-0729
            Case 2:14-cv-01178-MJP Document 867 Filed 11/02/21 Page 2 of 3




 1         Dated this 2nd day of November, 2021.

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                                              A
                                              Hon. Marsha J. Pechman
 5                                            United States Senior District Judge

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     [PROPOSED] ORDER GRANTING STIPULATED                                 Disability Rights Washington
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             Case 2:14-cv-01178-MJP Document 867 Filed 11/02/21 Page 3 of 3




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     [PROPOSED] ORDER GRANTING STIPULATED                            Disability Rights Washington
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